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% A 0 2458    (Rev. 06105) Judgment in a Criminal Case
              Sheet I




                       SOUTHERN                                      District o f                                 ILLINOIS

          UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                              v.
                    VANCE LEE BEERS                                         Case Number:           4:06CR40035-002-JPG

                                                                            U S M Number:          14651-026

                                                                             William A. Shirley
                                                                            Defendant's Attarnev
THE DEFENDANT:
upleaded guilty to count(s)           1 of the Indictment

   pleaded nolo contendere to count(s)                                                                                         .
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:


 $,.a,,'
Title & Section
       . ,
                .
                                   Yature of ONense
                                   'E?
                                      .I   I .   ".I,

                                                                              8 Poseec~swith Intent
                                                        fo'~~uf6latu~,'OkPtributb
                                                                                                               Offense Ended
                                                                                                                3F3112006               .
                                                                                                                                            (:ounr
                                                                                                                                             1, .:,'
                                    to Distribute 500 Grams or More of a Mixture & Substance



       The defendant is sentenced as provided in pages 2 through                10         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
17The defendant has been found not guilty on count(s)
13Count(s)                                            is                are dismissed on the motion of the United States.

         It 1s ordered that the defendant must not~fythe L'n~tedSvdtcs attomcy tbr thts dlstrtct wtthin 30 days of an,y c h ~ n g of
                                                                                                                                   e name, rrs~dence,
or mailing address unttl a l l fines, rsstltutlon, costs, andspecla1 assessments imposed by t h ~judgmmt
                                                                                                 s       are ti^ ly patd I t ordered to pay restuutlon,
the defendant must not~iythe court and lln~tedStates anorney of mater~slchanges in econonuc circumstances.




                                                                             J. Phil Gilbert                            District Judge
                                                                                                                       Title of Judge


                                                                                                       /a,       Zdd
                                                                                                                   '        7
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                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

  149 months (It is the Court's intention that the defendant be sentenced to 151 months, with credit for 2 months already
  sewed on a related case for a total remaining sentence of 149 months).


      @ The court makes the following recommendations to the Bureau of Prisons:
  That the defendant be placed in the Intensive Drug Treatment Program.



           The defendant is remanded to the custody of the United States Marshal

           The defendant shall surrender to the United States Marshal for this district:

                at                                     a.m.     17p.m.        on
                as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                          to

 at                                                   , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL


                                                                            BY
                                                                                                  DEPUTY UNITED STATES MARSHAL
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              Sheet 3 -Supervised Release


DEFENDANT: VANCE LEE BEERS
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                                                                                                                                               8"



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                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term o f :

 5 years on Count 1 of the Indictment.



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlaafull p o ~ s o sa controlled substance. 'Ihc defendant shall rcfraln from any unL\vful u>eof a controlled
 substance. The defendant shall suinut to one drug test w~thtn15 days of release from impr~sonmentand at least two per~od~c    drug tests
 thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 @f The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 @f The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fpe or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule otJF'ayments sheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;
           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month,
           the defendant shall answer tmthfully all inquiries by the probation officer and follow the instructions of the probation officer;
           the defendant shall support his or her dependents and meet other family responsibilities;
           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or adyinister any
           controlled substance or any paraphemaha related to any controlled substances, except as prescribed by a physlc~an;
           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
           the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the profation officer;
           the defendant shall p e m t a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed In plaln vlew of the probatlon officer;
           the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           pemssion of the court; and
  13)      ,.a dl~ectrdhy thc robat~onofficer, the IlcScndat~tshall not~fyth~rdpantcs of rtskb that nuy be occasioned by the defendant's cr~mlnal
             record or         history or characterl>tlo and shall perm11 the probation officer to nwkc cuch not~ficdtlonsand to confirm the
             defendant 3 compl~ance\\nth cuch not~ficdtlonrequlrcnwnr
A 0 2458
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            Sheet 3C - Supervised Release
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                                        SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer,

 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search.
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
                                                                                          -
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence and/or participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling and/or testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.

 X While incarcerated, the defendant shall make monthly payments, consisting of one-half of the amount of monthly
 deposits into the defendant's inmate trust account; however, if the account balance is less than $20.00, no payment shall
 be required.

 X Defendant shall submit within 15 days, not to exceed 52 tests in a one year period for drug urinalysis.
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           Sheet 5 C r i m i n a l Monetary Penalties
                                                                                                                             5
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                                                   CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                                                                                Restitution
TOTALS              $ 100.00                                                                                    $ 0.00



     The determination of restitution is deferred until     -. An Amended Judgment in a Criminal Case(A0 245C) will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below

     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise in
     the priority order or percentage payment column%elow. However, pursuant to 18 Qs.8. g 3664(?), all nonfederal victims must be paid
     before the United States is paid.

Name of Pavee                                                                TotalLoss*
                                                                                    Restitution Ordered                      Prioritv or Percentage




TOTALS                                   $                       0.00            $                       0.00


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 9 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      Qf the interest requirement is waived for the             @ fine           restitution.
           the interest requirement for the              fine           restitution is modified as follows:


* Findings for the total amount of losses are re uired under Chapters 109A, 110,l IOA, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 199%.
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           Sheet 6 - ~ c h e & l eof Payments
                                                                                                         Judgment-Page        6     of       10
 DEFENDANT: VANCE LEE BEERS


                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A   $i    Lump sum payment of $                             due immediately, balance due

                 not later than                                  , Or
                 in accordance                C,       D,          E, or     @fF below; or
 B    IJ Payment to begin immediately (may be combined with                IJC,         D, or        F below); or

 C         Payment inequal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D          Payment inequal                      (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     ,J   Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    @ Special instructions regarding the payment of criminal monetary penalties:
            While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or 10% of his
            net monthly income, whichever is greater, toward his fine.




 Unless the court has cxprcssl ordcrcd othr.n\.~se.~fth~bjud lment Imposes I m p r l s o n m e u t , r y n t ufcr~mlnalmonetary penalt~es1s due dunn
                               ?
 lnlprisonment All crlmlna moneta penalties, except hohc payments made throug t e lederal Bureau of Pr~sons'Inmate ~ l n a n c l j
 Respons~bllityProgram are made t o x e clerk of the court

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in ,the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fme interest, (6) commun~tyrestitution, (7) penalties, and (8) costs, lncludlng cost of prosecubon and court costs.
